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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   BEAUFORT DIVISION

                                                     Civil Action No.: 9:19-cv-02782-SAL
Philadelphia Indemnity Insurance Company,

                              Plaintiff,
                     v.
                                                  DEFENDANTS RICHARD ALEXANDER
Richard Alexander Murdaugh, Richard                    MURDAUGH AND RICHARD
Alexander Murdaugh, Jr. and Renee S.              ALEXANDER MURDAUGH, JR.’S SUR-
Beach, as Personal Representative of the         REPLY TO PHILADELPHIA INDEMNITY
Estate of Mallory Beach,                           INSURANCE COMPANY’S REPLY TO
                                                     DEFENDANTS’ OPPOSITION TO
                              Defendants.        PLAINTIFF’S MOTION FOR SUMMARY
                                                             JUDGMENT

       Understanding that sur-replies are generally disfavored, Defendants briefly respond to the

new matters raised in Philadelphia Indemnity Insurance Company’s (“Philadelphia”) Reply (Dkt.

No. 35). Philadelphia’s reply misstates the facts and completely overlooks the primary basis

upon which its policy must provide coverage

       Philadelphia contends for the first time in its Reply that “the Boat Policy was not in effect

at the time the Umbrella Policy was issued. Therefore, Murdaugh could not have ‘intended to

procure a policy that would provide excess coverage’ over it.” (Philadelphia Reply at 2). This

contention, however, is incorrect.   The Progressive Northern Insurance Company policy (“the

Boat Policy”) was in effect at the time the Umbrella Policy was issued. The Boat Policy

declaration page attached to Defendants’ responsive memorandum as Exhibit 4 (Dkt. No. 28-4)

states on its face that it is a “Renewal” of a prior policy period. Defendants are attempting to

locate the declaration page for the policy that Exhibit 4 renewed and will submit that as a

supplemental exhibit when located.
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       More importantly, however, Philadelphia’s Reply completely ignores the primary basis

upon which its policy provides coverage for this boat accident. Without quoting the Follow

Form endorsement, Philadelphia incorrectly asserts that it “incorporates only the provisions of . .

. the Philadelphia Commercial Lines Policy,” and that ‘[t]he underlying scheduled policy is the

only ‘applicable insurance’.” (Philadelphia Reply at 3). In fact, the Follow Form endorsement

states that it will follow “the applicable ‘underlying insurance’ shown in the Schedule of

Underlying Insurance unless otherwise directed by this policy. . . .” (emphasis added). The

Umbrella Policy directs that “[Watercraft] coverage provided will follow the provisions,

exclusions and limitations of the ‘underlying insurance’ unless otherwise directed by the

insurance.” The Umbrella Policy includes within its definition of “underlying insurance” “Any

other insurance available to the insured.” (emphasis added). See Comm’rs of the State Ins.

Fund v. Aetna Cas. & Sur. Co., 283 A.D.2d 335, 335-36, 728 N.Y.S.2d 6, 7 (App. Div. 2001)

(“Although the State Insurance Fund is not listed in the umbrella policy’s schedule of underlying

insurance, it comes within the policy’s definition of ‘underlying insurance,’ because this term is

defined in the policy to encompass both the policies listed in the schedule of underlying

insurance and ‘[a]ny other insurance available to the insured.’” (alteration in original)).

Therefore, the Progressive Boat Policy is an “underlying insurance” policy, Defendants are

insureds under that policy, and the Umbrella Policy affords coverage to Defendants in the

underlying lawsuit.

                                             TURNER PADGET GRAHAM & LANEY, P.A.

                                             /s/ Robert E. Kneece III
                                             John S. Wilkerson, III Federal ID No.: 4657
                                             Robert E. Kneece III, Federal ID No.: 12351
                                             40 Calhoun Street, Suite 200
                                             Post Office Box 22129 (29413)
                                             Charleston, SC 29401
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                                    Telephone: (843) 576-2801
                                    Facsimile: (843) 577-1649
                                    Email: JWilkerson@TurnerPadget.com
                                           RKneece@TurnerPadget.com


                                    GRIFFIN DAVIS

                                    James M. Griffin, Federal ID No.: 1053
                                    4408 Forest Drive, Suite 300
                                    P.O. Box 999 (29202)
                                    Columbia, SC 29206
                                    Email: jgriffin@griffindavislaw.com

                                    ATTORNEYS FOR DEFENDANTS RICHARD
                                    ALEXANDER MURDAUGH AND RICHARD
                                    ALEXANDER MURDAUGH, JR.


January 15, 2021
